
DUCKER, JUDGE:
Claimant, as the insurer against fire and as subrogee of John R. Dawkins who owned property across the street from property known as the old jail in Lewisburg, West Virginia, owned by the County Court of Greenbrier County, West Virginia, claims damages in the sum of $302.81 resulting from a fire on November 23, 1970, which broke a window in the front part of the Dawkins property, the fire having totally destroyed the old jail building.
The facts as to the fire are fully set forth in an opinion of this Court in Claim No. D-585b*, and rather than repeat the same here, reference is made to that opinion. In accordance with that opinion in which this Court held that the fire resulted from the negligence of the respondent, we likewise hold in this claim, and do hereby award the claimant the sum of $302.81.
Award of $302.81.

See Buckeye Union Insurance Company et al v. Department of Highways, No. D-585b in this Volume.

